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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LAMAR ADVERTISING SOUTHWEST, INC.,

             Plaintiff,

v.                                                          No. CV 21-230 GJF/CG

GRANDVIEW REALTY, LLC, et al.,

             Defendants.

             ORDER SETTING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court upon review of the record. IT IS HEREBY

ORDERED that a status conference will be held by telephone on Monday, November

8, 2021, at 2:30 p.m. The parties shall call Judge Garza’s AT&T Teleconference line at

(877) 810-9415, follow the prompts, and enter the Access Code 7467959, to be

connected to the proceedings.

      IT IS SO ORDERED.



                                 ________________________________
                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
